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                         UNITED STATES DISTRICT COURT
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                        EASTERN DISTRICT OF CALIFORNIA
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     ANDRE KOVACS,                       CR. NO. 2:10-437 WBS
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                  Petitioner,            MEMORANDUM AND ORDER DENYING
14                                       PETITION FOR WRIT OF ERROR CORAM
          v.                             NOBIS
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     UNITED STATES OF AMERICA,
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                  Respondent.
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21             Before the court is Andre Kovacs’ Petition for Writ of

22   Error Coram Nobis Pursuant to 28 U.S.C. § 1651 filed October 20,

23   2016 (Docket No. 345), as well as the United States’ Motion to

24   Dismiss or Deny Petition for Writ of Error Coram Nobis filed

25   February 27, 2017 (Docket No. 355).       In the petition, Kovacs

26   moves to vacate his conviction for unlawful use of a

27   communication facility to facilitate a methamphetamine

28   distribution conspiracy under 21 U.S.C. § 843(b).         The court held
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1    a hearing on the motion on March 27, 2017.

2    I.   Factual and Procedural History

3                In 2010, Kovacs was charged in a multiple-defendant

4    indictment with conspiracy to distribute and possess with intent

5    to distribute at least 50 grams of methamphetamine under 21

6    U.S.C. §§ 846 and 841(a)(1) (the “methamphetamine conspiracy

7    count”) and three counts of the unlawful use of a communication

8    facility to facilitate a methamphetamine distribution conspiracy

9    under 21 U.S.C. § 843(b) (the “phone counts”).        (Docket No. 1.)

10   Kovacs and the government eventually reached a plea agreement

11   under which the government agreed to dismiss the methamphetamine

12   conspiracy count and two of the phone counts (Counts 1, 16, and

13   18) and recommend a sentence on the low end of the applicable

14   Sentencing Guidelines range, while Kovacs agreed to plead guilty

15   to one phone count (Count 19).      (Docket No. 194.)     The plea

16   agreement also contained an appellate waiver under which he gave

17   up the right to appeal or collaterally attack his conviction or

18   sentence.   (Docket No. 194 at 6-7.)1

19               Pursuant to the plea agreement, Kovacs pled guilty to

20   one phone count at his change of plea hearing on July 2, 2012.
21   During the hearing, Kovacs explained that he had issues with

22   PTSD, drug and alcohol abuse, and depression in the past but

23   medication was effectively treating these issues.         His counsel

24   also agreed that Kovacs was in full possession of his faculties

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26             Kovacs’ petition discusses how his prior counsel faced
     criminal charges and ethics complaints, but they are irrelevant
27   to the instant motion, because new counsel was appointed in
     January 2012, well in advance of Kovacs’ change of plea hearing
28   in July 2012 and his sentencing in November 2012.
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1    and was capable of proceeding.      Kovacs represented that he

2    understood the plea agreement and that he was entering into the

3    plea agreement voluntarily, and he acknowledged that he was

4    giving up his right to appeal or collaterally attack his

5    conviction and sentence.     (Change of Plea Hr’g Tr. at 3-10

6    (Docket No. 339).)

7               The court then asked whether Kovacs understood what the

8    government would have to show should the case proceed to trial,

9    specifically that the government would have to prove 1) Kovacs

10   used a telephone in furtherance of a conspiracy to distribute or

11   to possess with intent to distribute at least 50 grams of

12   methamphetamine, 2) he knew of the conspiracy, and 3) he

13   intentionally used the telephone to further the objects of that

14   conspiracy.     As the basis for this charge, the government

15   explained that law enforcement had intercepted a call between

16   Kovacs and a co-defendant, Amador Rosales, regarding a drug debt

17   Kovacs owed Rosales for methamphetamine.       (Change of Plea Hr’g

18   Tr. at 11-13.)

19              The court then noted that for a phone call to be “in

20   furtherance” of a drug conspiracy, it needed to involve more than
21   simply the transaction between Rosales and Kovacs.         In response,

22   the government stated that Kovacs knew that Rosales was a seller

23   of methamphetamine to multiple buyers and “that’s how Mr. Kovacs

24   is part of this conspiracy by buying the methamphetamine from Mr.

25   Rosales, furthering the drug trafficking business that Mr.

26   Rosales had.”    In response, Kovacs explained that “I just would
27   add that I’m just a drug addict, and I bought from a drug

28   dealer.”   (Change of Plea Hr’g Tr. 13-14.)
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1              In response to questioning by the court, Kovacs agreed

2    that he knew Rosales had customers and was part of a group of

3    people selling drugs.    After some discussion regarding Kovacs’

4    drug debt, the court noted its concern whether the government

5    would have enough evidence to show that the phone call was

6    actually pursuant to the methamphetamine conspiracy count.        In

7    response, the government explained that Kovacs knew that Rosales

8    was selling methamphetamine “to other sub distributors of

9    [Rosales’] drug trafficking organization” and that he knew “other

10   parties in [Rosales’] drug trafficking organization” who were

11   part of the methamphetamine conspiracy.       Kovacs agreed that he

12   knew other members of the conspiracy and knew that Rosales was

13   selling large amounts of methamphetamine.       Notwithstanding the

14   concerns expressed by the court, Kovacs proceeded to plead guilty

15   to Count 19 of the Indictment.      (Change of Plea Hr’g Tr. 15-18.)

16             At Kovacs’ sentencing four months later, the court once

17   again expressed its concerns with Kovacs’ guilty plea, noting

18   that 1) it had never seen a case where the defendant who bought

19   drugs for personal use was convicted of possession with intent to

20   distribute, or conspiracy to sell or possess with intent to
21   distribute; and 2) based on the evidence presented to the court,

22   Kovacs could not have been convicted of such a crime, and thus

23   this case differed from normal “phone count” cases.         The court

24   then noted that the parties had agreed that Kovacs was guilty of

25   the charged phone count based on the theory that when a buyer

26   engages in a phone conversation with the seller for the purpose
27   of buying drugs, he thereby facilitates the seller’s crime of

28   selling or possession with the intent to sell drugs, and based on
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1    the parties’ agreement on this theory, the court had accepted it.

2    (Sentencing Tr. 12-15 (Docket No. 307).)        However, given that

3    this case fell “outside the heartland” of normal phone count

4    cases, as well as the need for treatment for PTSD and other

5    issues, the court sentenced Kovacs to time served and 12 months

6    of supervised release, rather than the 41-month sentence

7    recommended by the government.       (Sentencing Tr. 13-24.)       Kovacs

8    was then ordered released the same day.        (Docket No. 222.)

9                Almost four years later, Kovacs filed his petition for

10   writ of error coram nobis, arguing that his conviction should be

11   vacated because his admitted conduct was not a violation of 21

12   U.S.C. § 843(b).

13   II.   Legal Standard

14               A writ of error coram nobis is a “highly unusual

15   remedy, available only to correct grave injustices in a narrow

16   range of cases where no more conventional remedy is applicable.”

17   United States v. Chan, 792 F.3d 1151, 1153 (9th Cir. 2015)

18   (citations omitted).     To warrant coram nobis relief, a petitioner

19   must establish that: “(1) a more usual remedy is not available;

20   (2) valid reasons exist for not attacking the conviction earlier;
21   (3) adverse consequences exist from the conviction sufficient to

22   satisfy the case or controversy requirement of Article III; and

23   (4) the error is of a fundamental character.”         Id. (citation

24   omitted).   “Because these requirements are conjunctive, failure

25   to meet any one of them is fatal.”       Matus-Leva v. United States,

26   287 F.3d 758, 760 (9th Cir. 2002) (citation omitted).
27   III. Discussion

28               Here, Kovacs has not shown that his conviction resulted
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1    in a fundamental error.     Nor has he provided valid reasons for

2    his delay in attacking his conviction.

3              The court’s discussion with Kovacs’ counsel at the

4    hearing on this petition illustrates his inability to show

5    fundamental error.    Kovacs’ counsel agreed that Kovacs’ prior

6    counsel, who represented him at the change of plea hearing and at

7    sentencing, was highly qualified and had acted in the best

8    interests of her client in procuring a plea agreement by which

9    the government agreed to dismiss the methamphetamine conspiracy

10   count, which carried a 10-year mandatory minimum sentence.

11   Indeed, Kovacs’ current counsel explained that she had

12   specifically decided not to raise an ineffective assistance of

13   counsel claim in support of her claim of fundamental error as

14   “any lawyer would do this plea” under the circumstances.

15             The court recognizes Kovacs’ claim that his conduct did

16   not constitute a violation of 21 U.S.C. § 843(b).         See Abuelhawa

17   v. United States, 556 U.S. 816 (2009) (use of telephone to make a

18   misdemeanor drug purchase does not constitute the use of a

19   communication facility in causing or facilitating another’s

20   commission of felony of drug distribution in violation of 21
21   U.S.C. § 843(b)).    However, Kovacs’ counsel acknowledged at the

22   hearing on this motion that it was a “close question” whether

23   there was a sufficient factual basis for the phone count.         More

24   importantly, both the United States and Kovacs’ counsel agree

25   that Kovacs clearly benefited from the plea agreement because it

26   resulted in a sentence of time served. 2       Under these
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               Kovacs’ counsel also agreed that Kovacs could have been
28   found guilty of methamphetamine possession had he been charged
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1    circumstances, Kovacs cannot show that his conviction is a “grave

2    injustice” warranting the extraordinary relief of a writ of error

3    coram nobis.    See Chan, 792 F.3d at 1153.3

4                Even assuming Kovacs had shown fundamental error, he

5    has failed to show valid reasons for his delay in bringing his

6    petition.   As discussed above, both at the change of plea hearing

7    and sentencing, the court expressed its concern that Kovacs was

8    only a drug buyer and not a member of Rosales’ drug conspiracy,

9    and thus there may have been insufficient grounds for Kovacs to

10   be found guilty of using a telephone to facilitate a drug

11   conspiracy under 21 U.S.C. § 843(b).       In other words, the court

12   twice provided Kovacs with the precise grounds he raised in the

13   instant petition.

14               Thus, Kovacs could have sought to withdraw his guilty

15   plea prior to sentencing, could have filed a direct appeal, or

16   could have moved to vacate his conviction under 28 U.S.C. § 2255

17   during his 12 months of supervised release.        See Matus-Leva, 287

18   F.3d at 761 (defendant under supervised release is in custody and

19   may seek relief under 28 U.S.C. § 2255).       Even after completing

20   his supervised release in 2013, Kovacs could have filed a
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     with such crime, and that he could have received a similar
22   sentence under that scenario, although such conviction would have
     been a misdemeanor.
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               The court notes that had it declined to accept the
24   parties’ plea agreement, it would have potentially committed
     reversible error. See United States v. Morales-Rodriguez, 450 F.
25   App’x 658 (9th Cir. 2011) (reversing district court’s refusal to
26   accept a guilty plea where the defendant stated he was innocent,
     because “a defendant’s statement that he is not actually guilty
27   ‘does not suggest either that the plea was involuntary or that it
     lacked a factual basis’”) (citation omitted).
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1    petition for writ of error coram nobis well before the filing of

2    the instant petition in October 2016.       Indeed, in his March 2016

3    letter to the court inquiring about the possibility of reducing

4    his conviction to a misdemeanor, expungement of the conviction,

5    or a presidential pardon, Kovacs specifically referenced the

6    court’s concerns about the factual basis for his conviction as

7    one of the reasons he sought relief.       (See Docket No. 325.)

8              In other words, Kovacs was personally aware of the

9    grounds for a challenge to his conviction, even if he may not

10   have been aware of the proper procedure for such relief, and he

11   had multiple opportunities to raise such challenge.         As such,

12   this petition differs from other cases where courts have granted

13   coram nobis relief notwithstanding delay by the petitioner.         See,

14   e.g., United States v. Walgren, 885 F.2d 1417, 1421 (9th Cir.

15   1989) (delay reasonable where applicable law was recently changed

16   and made retroactive); Hirabayashi v. United States, 828 F.2d

17   591, 605 (9th Cir. 1987) (delay reasonable where new evidence was

18   discovered that the petitioner could not have located earlier);

19   United States v. Kwan, 407 F.3d 1005, 1013-14 (9th Cir. 2005)

20   (delay was reasonable where petitioner’s counsel affirmatively
21   misled petitioner regarding the collateral consequences of a

22   conviction).   In none of these cases is there any indication that

23   the respective court specifically raised the grounds that the

24   petitioner would later rely on in his or her petition.

25             The waiver of the right of appeal or collateral attack

26   in Kovacs’ plea agreement does not constitute a valid excuse for
27   his delay.   The court notes that most if not virtually all plea

28   agreements contain such waiver.      To hold that the inclusion of a
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1    waiver in a plea agreement excuses a substantial delay in seeking

2    collateral relief would allow virtually every defendant who pled

3    guilty to seek coram nobis relief after completion of his or her

4    sentence, regardless of the delay.      The court is wary of any

5    holding which could encourage or allow defendants to enter into

6    plea agreements and gain the benefits of such agreements, and

7    then attack the conviction later.

8              Moreover, Kovacs’ PTSD, drug and alcohol use, and

9    depression were all discussed during his change of plea hearing,

10   and the court verified that he was being properly treated for his

11   conditions and that he was in full possession of his faculties at

12   the hearing.   Kovacs does not claim that these issues affected

13   him when he pled guilty, at his sentencing, or during his time of

14   supervised release, nor that they prevented him from challenging

15   his conviction at any time afterwards.       Indeed, in his March 2016

16   letter to the court, he stated that he had been “sober from

17   drugs” for more than six years.      Thus, Kovacs’ past issues with

18   PTSD, drug and alcohol abuse, and depression did not cause any

19   delay in bringing the instant petition.

20             Because Kovacs has not shown fundamental error and has
21   failed to present valid reasons for his delay in bringing his

22   petition, the court will deny the petition and grant the

23   government’s motion to dismiss.4      See United States v. Riedl, 496

24   F.3d 1003, 1006-07 (9th Cir. 2007) (affirming denial of coram

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26             Because Kovacs has not shown fundamental error and has
     failed to present valid reasons for his delay in filing his
27   petition, the court does not address the government’s argument
     that the petition is barred by the plea agreement’s appellate
28   waiver.
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1    nobis petition where petitioner could have raised void for

2    vagueness and insufficient evidence claims during trial, on

3    direct appeal, or through a 28 U.S.C. § 2255 petition, where the

4    law remained the same throughout the litigation, there was no

5    indication that any diminished capacity limited her ability to

6    challenge her conviction, and petitioner unnecessarily delayed

7    raising her claims after being released from custody).

8               IT IS THEREFORE ORDERED that petitioner’s petition for

9    writ of error coram nobis (Docket No. 345) be, and the same

10   hereby is, DENIED.

11   Dated:   March 27, 2017

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